
This was an action of assumpsit by the plaintiff against the defendant, brought on a store account. The declaration claimed 65/. 2s. 6d. and a verdict was rendered for 10/. 12s. 2d. only. The defendant moved in arrest of judgment, on the ground that the verdict was no more than the sum last mentioned. The district court of Prince Edward, (in which the suit was brought and the verdict rendered,) deeming the question arising on the point of law in the case to be difficult, adjourned the same to the general court. The accounts exhibited on the trial, were copied into the record. The first was an account raised against the defendant by James M’Clellan, which begun in November, 1791, and ended in September, 1794, making a balance against the defendant, of 51/. 15s. 4 }id.
*The second was an account raised against the defendant, by M’Clellan and Maitland, under the firm of James M’Clellan and Co., beginning in October, 1794, and ending in June, 1796; the first item in this account was the above mentioned balance, transferred from the first account. The amount of this second account was 65/. 2s. 6d. The third was an account raised by the defendant against James M’Clellan “for sundries not credited in M’Clellan’s account against M’Dearman,” and consisted of three items in each of the years 1795, 6, and 7, amoun ting to 56/. 10s. Sd.
The general court, consisting of Judges Tucker, Jones, and Stuart, November 15, 1802, decided “that judgment upon the verdict rendered in the said cause ought to he arrested, because it doth not appear from the record, that the plaintiff’s demand was reduced below the sum of one hundred dollars, by any set-off against the same offered on the part of the defendant at the trial.”
Vid. Neff v. Talbot.
